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A O 2 4 5 B-CA ED (Rev . 3 / 0 4 ) Sheet 1 - J udgm en t in a Crim in al Case



                                           United States District Court
                                                   Eastern District of California

            UNITED STATES OF AMERICA                                                    JUDGMENT IN A CRIMINAL CASE
                       v.                                                               (For Offenses Committed On or After November 1, 1987)
                EBONY CROMWELL                                                          Case Number: 2:07CR00449-03


                                                                                        Dina Santos, Appointed
                                                                                        D ef endant ’ s A t t orn ey


THE DEFENDANT:

[U]        pleaded guilt y t o count s: 1-6 of t he Inf ormat ion.
[]         pleaded nolo contendere t o count s(s)            w hich w as accepted by t he court .
[]         w as f ound guilt y on count (s)       af t er a plea of not guilt y.

ACCORDINGLY, t he court has adjudicat ed t hat t he def endant is guilt y of t he f ollow ing of f ense(s):
                                                                                                                 Date Offense      Count
Title & Section                             Nature of Offense                                                    Concluded         Numbers
18 USC 1344                                 Bank Fraud                                                           06/15/2007        1-3
18 USC 1344                                 Bank Fruad                                                           07/18/2007        4-6


       The def endant is sent enced as provided in pages 2 t hrough 6 of t his judgment . The sent ence is imposed
pursuant t o t he Sent encing Ref orm Act of 1984.

[]         The def endant has been f ound not guilt y on count s(s)                              and is discharged as t o such count (s).

[]         Count (s)          (is)(are) dismissed on t he mot ion of t he Unit ed St at es.

[U]        Indict ment is t o be dismissed by Dist rict Court on mot ion of t he Unit ed St at es.

[U]        Appeal right s given.                                  []            Appeal right s w aived.

        IT IS FURTHER ORDERED t hat t he def endant shall not if y t he Unit ed St at es At t orney f or t his dist rict w it hin
30 days of any change of name, residence, or mailing address unt il all f ines, rest it ut ion, cost s, and special
assessment s imposed by t his judgment are f ully paid. If ordered t o pay rest it ut ion, t he def endant must not if y t he
court and Unit ed St at es at t orney of mat erial changes in economic circumst ances.

                                                                                08/07/2008
                                                                                Dat e of Imposit ion of Judgment



                                                                                Signat ure of Judicial Of f icer


                                                                                MORRISON C. ENGLAND, JR., Unit ed St at es Dist rict Judge
                                                                                Name & Tit le of Judicial Of f icer

                                                                                8/19/2008
                                                                                Dat e
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A O 2 4 5 B-CA ED (Rev . 3 / 0 4 ) Sh eet 2 - Im p riso n m en t

CASE NUMBER:                       2:07CR00449-03                                                                            Judgment - Page 2 of 6
DEFENDANT:                         EBONY CROMWELL


                                                                     IM PRISONM ENT
          The def endant is hereby commit t ed t o t he cust ody of t he Unit ed St at es Bureau of Prisons t o be imprisoned
f or a t ot al t erm of 1 mont h on each of count s, 1-6, t o run concurrent ly.




[U]        The court makes t he f ollow ing recommendat ions t o t he Bureau of Prisons:
.


[]         The def endant is remanded t o t he cust ody of t he Unit ed St at es Marshal.


[]         The def endant shall surrender t o the Unit ed St at es Marshal f or t his dist rict .
           [ ] at        on     .
           [ ] as not if ied by t he Unit ed St at es Marshal.


[U]        The def endant shall surrender f or service of sent ence at t he inst it ut ion designat ed by t he Bureau of
           Prisons:
           [U] bef ore 2:00 p.m. on 12/15/2008.
           [ ] as not if ied by t he Unit ed St at es Marshal.
           [U] as not if ied by t he Probat ion or Pret rial Services Of f icer.
           If no such inst it ution has been designat ed, t o the Unit ed St at es Marshal f or t his dist rict .

                                                                           RETURN
I have executed this judgment as follow s:




           Defendant delivered on                                                       to


at                                                                 , w ith a certified copy of this judgment.




                                                                                                                UNITED STATES MARSHAL



                                                                                             By
                                                                                                                  Deputy U.S. Marshal
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A O 2 4 5 B-CA ED (Rev . 3 / 0 4 ) Sheet 3 - Superv ised Release

CASE NUMBER:                    2:07CR00449-03                                                                       Judgment - Page 3 of 6
DEFENDANT:                      EBONY CROMWELL


                                                          SUPERV ISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months as to each of
counts 1-6 t o run concurrently.


The defendant must report to the probation office in the district to w hich the defendant is released w ithin 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlaw fully possess a controlled substance. The defendant shall refrain from any unlaw ful use of
controlled substance. The defendant shall submit to one drug test w ithin 15 days of release from imprisonment and at least
tw o periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[U]       The above drug testing condition is suspended based on the court ' s determination that the defendant poses a low risk
          of future substance abuse. (Check, if applicable.)

[U]       The defendant shall not possess a firearm, destructive device, or any other dangerous w eapon. (Check, if applicable.)

[U]       The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[ ]       The defendant shall register and comply w ith the requirements in the federal and state sex offender registration
          agency in the jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction w here the
          defendant resides, is employed, or is a student. (Check, if applicable.)

[ ]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitut ion obligation, it is a condition of supervised release that the defendant pay in
accordance w ith the Schedule of Payments sheet of this judgment.

The defendant must comply w ith the standard conditions that have been adopted by this court as w ell as w ith any additional
conditions on the attached page.


                                     STANDARD CONDITIONS OF SUPERV ISION
1)    the defendant shall not leave the judicial district w ithout permission of the court or probation of ficer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete w ritten report w ithin the first
      five days of each month;
3)    the defendant shall answ er truthf ully all inquiries by the probation of ficer and follow instructions of the probation of ficer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall w ork regularly at a law ful occupation unless excused by the probation officer for schooling, training
      or other acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places w here controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate w ith any persons engaged in criminal activity, and shall not associate w ith any person
      convicted of a felony unless grant ed permission to do so by the probation of ficer;
10)   the defendant shall permit a probation of ficer to visit him or her at any time at home or elsew here, and shall permit
      confiscation of any cont raband observed in plain view by the probation of ficer;
11)   the defendant shall notify the probation officer w ithin seventy-tw o hours of being arrested or questioned by a law
      enf orcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
      w it hout the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant' s criminal record or personal history or characteristics, and shall permit the probation officer to make such
      notifications and to confirm the defendant' s compliance w ith such notification requirement.
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A O 2 4 5 B-CA ED (Rev . 3 / 0 4 ) Sheet 3 - Superv ised Release

CASE NUMBER:                    2:07CR00449-03                                                         Judgment - Page 4 of 6
DEFENDANT:                      EBONY CROMWELL


                                        SPECIAL CONDITIONS OF SUPERV ISION

          1.     The defendant shall submit to the search of her person, property, home, and vehicle by a
                 United States Probation Officer, or any other authorized person under the immediate and
                 personal supervision of the probation officer, based upon reasonable suspicion, without a
                 search warrant. Failure to submit to a search may be grounds for revocation. The defendant
                 shall warn any other residents that the premises may be subject to searches pursuant to this
                 condition.

          2.     The defendant shall provide the probation officer with access to any requested financial
                 information.

          3.     The defendant shall not incur new credit charges or open additional lines of credit without the
                 approval of the probation officer.

          4.     The defendant shall comply with the conditions of home detention for a period of 90
                 consecutive days to commence when directed by the probation officer. During this time, the
                 defendant will remain at place of residence except for employment and other activities
                 approved in advance by the defendant’s probation officer. The defendant will maintain
                 telephone service at her place of residence without an answering device, call forwarding, a
                 modem, caller ID, call waiting, or a cordless telephone for the above period.

                 At the discretion of the probation officer, the defendant shall wear an electronic monitoring
                 device and follow electronic monitoring procedures as specified by her probation officer. The
                 defendant shall pay the cost of electronic monitoring as determined by the probation officer.

          5.     Defendant shall report for a Status Hearing on 8/28/2008 at 9:00 a.m. Defendant is to
                 provide weekly records of school performance and attendance to the United States Probation
                 Officer.
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AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal M onetary Penalties

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DEFENDANT:                     EBONY CROMWELL


                                             CRIM INAL M ONETARY PENALTIES
      The def endant must pay t he t ot al criminal monet ary penalt ies under t he Schedule of Payment s on Sheet 6.

                                                        Assessment                           Fine                      Rest it ut ion
       Tot als:                                          $ 600.00                          $ Waived                   $ 33,574.00


[]     The det erminat ion of rest it ut ion is def erred unt il              . An Amended Judgment in a Criminal Case (AO 245C) w ill
       be ent ered af t er such det erminat ion.

[U] The def endant must make rest it ut ion (including community rest it ut ion) t o t he f ollow ing payees in the amount
    list ed below .

       If t he def endant makes a part ial payment , each payee shall receive an approximat ely proport ioned payment , unless
       specif ied ot herw ise in t he priorit y order or percent age payment column below . How ever, pursuant t o 18 U.S.C.
       § 3664(i), all nonf ederal vict ims must be paid bef ore t he Unit ed St at es is paid.



Name of Payee                             Total Loss*                                Restitution Ordered        Priority or Percentage
Wells Fargo Bank, N.A. - Invest igat ions                                               $33,574.00
c/o Anne McConnaughey
85 Cleveland Road
Pleasant Hill, Calif ornia 94523
Ref erence No. E-07-13138

       TOTALS:                                      $    33,574.00                      $ 33,574.00




[]     Rest it ut ion amount ordered pursuant t o plea agreement $

[]     The def endant must pay interest on rest it ut ion and a f ine of more t han $2,500, unless t he rest it ut ion or f ine is
       paid in f ull bef ore t he f if t eent h day af t er t he dat e of t he judgment , pursuant t o 18 U.S.C. § 3612(f ). All of t he
       payment opt ions on Sheet 6 may be subject t o penalt ies f or delinquency and def ault , pursuant t o 18 U.S.C. §
       3612(g).

[ ]         The court det ermined t hat t he def endant does not have t he abilit y t o pay int erest and it is ordered t hat :

       [U]    The interest requirement is w aived f or t he [ ] f ine                            [U] rest it ut ion

       []    The int erest requirement f or t he                  [ ] f ine [ ] rest it ut ion is modif ied as f ollow s:




   * * Findings f or t he t ot al amount of losses are required under Chapt ers 109A, 110, 110A, and 113A of Tit le 18
f or of f enses commit t ed on or af t er Sept ember 13, 1994, but bef ore April 23, 1996.
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AO 245B-CAED (R ev. 3/04) Sheet 6 - Schedule of Payments

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DEFENDANT:                     EBONY CROMWELL

                                                    SCHEDULE OF PAYM ENTS


      Payment of t he t ot al f ine and ot her criminal monet ary penalt ies shall be due as f ollow s:

A     [ ] Lump sum payment of $                   due immediat ely, balance due

          []        not lat er t han   , or
          []        in accordance w it h    [ ] C,         [ ] D,   [ ] E, or      [ ] F below ; or

B     [U]           Payment t o begin immediat ely (may be combined w it h [ ] C,                     [ ] D, or [ ] F below ); or

C     [ ] Payment in equal     (e.g., w eekly, mont hly, quart erly) inst allment s of $     over a period of             (e.g., mont hs
          or years), t o commence      (e.g., 30 or 60 days) af t er t he dat e of t his judgment ; or

D     [ ] Payment in equal     (e.g., w eekly, mont hly, quart erly) inst allment s of $  over a period of     (e.g., mont hs
          or years), t o commence     (e.g., 30 or 60 days) af t er release f rom imprisonment t o a t erm of supervision; or

E     [ ] Payment during t he t erm of supervised release w ill commence w it hin   (e.g., 30 or 60 days) af t er release
          f rom imprisonment . The court w ill set t he payment plan based on an assessment of t he def endant ’ s abilit y
          t o pay at t hat t ime; or

F     [ ] Special inst ruct ions regarding t he payment of criminal monet ary penalt ies:




Unless t he court has expressly ordered ot herw ise, if t his judgment imposes imprisonment , payment of criminal
monet ary penalt ies is due during imprisonment . All criminal monet ary penalt ies, except t hose payment s made t hrough
t he Federal Bureau of Prisons' Inmat e Financial Responsibilit y Program, are made t o t he clerk of t he court .

The def endant shall receive credit f or all payment s previously made t ow ard any criminal monet ary penalt ies imposed.

[U] Joint and Several

Def endant and Co-Def endant Names and Case Numbers (including def endant number), Tot al Amount , Joint and Several
Amount , and corresponding payee, if appropriat e: $33,574.00 joint ly and severally w it h co-def endant , Jasmin Nicole
But t s.



[]    The def endant shall pay t he cost of prosecut ion.

[]    The def endant shall pay t he f ollow ing court cost (s):

[]    The def endant shall f orf eit t he def endant ’ s int erest in t he f ollow ing propert y t o t he Unit ed St at es:




Payment s shall be applied in t he f ollow ing order: (1) assessment ; (2) rest it ut ion principal; (3) rest it ut ion int erest ,
(4) f ine principal, (5) f ine interest , (6) community rest it ut ion, (7) penalt ies, and (8) cost s, including cost s of
prosecut ion and court cost s.
